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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                   CHARLESTON DIVISION


LEONARD A. SAYLES, JR.,

                               Petitioner,

v.                                                    CIVIL ACTION NO. 2:05-cv-00122
                                                      (Criminal No. 2:99-cr-00198-05)

UNITED STATES OF AMERICA,

                               Respondent.


                          MEMORANDUM OPINION AND ORDER

         Pending before the court is the petitioner’s Motion to Alter or Amend Judgment pursuant to

Federal Rule of Civil Procedure 59(e) [Docket 582]. For the following reasons, the petitioner’s

motion is DENIED.

I.       Factual and Procedural Background

         The record reveals that the petitioner was named in four counts of a 12-count superseding

indictment. The petitioner was charged with one count of conspiracy to distribute more than 50

grams of cocaine base, in violation of 21 U.S.C. § 846 (Count One), one count of distribution of

cocaine base, in violation of 21 U.S.C. § 841(a)(1) (Count Seven), one count of aiding and abetting

the distribution of cocaine base, in violation of 21 U.S.C. § 841(a)(1) and 18 U.S.C. § 2 (Count Ten),

and one count of using, carrying or possessing a firearm in furtherance of a drug trafficking crime,

in violation of 18 U.S.C. § 924(c)(1)(A) (Count Eleven). Attorney Donald L. Stennett was

appointed to represent the defendant on those charges.
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       After no plea agreement was reached, Mr. Sayles went to trial before a jury on July 11, 2000.

The petitioner was ultimately convicted on all four counts in which he was named in the superseding

indictment. At sentencing, the court found the petitioner’s total offense level was 38, and his

criminal history category was I. Consequently, his Guideline sentencing range was 235-240 months

on Counts One, Seven and Ten.1 On Count Eleven, the petitioner was subject to a consecutive 60-

month sentence. The petitioner was sentenced to a term of imprisonment of 235 months on Counts

One, Seven and Ten, and a consecutive term of 60 months on Count Eleven, for a total sentence of

295 months, to be followed by a five-year term of supervised release on Count One, and a three-year

term of supervised release on the other counts.

       The petitioner appealed his conviction and sentence to the United States Court of Appeals

for the Fourth Circuit. On appeal, the petitioner, who was then represented by John G. Hackney, Jr.,

challenged a two-level sentencing enhancement for a leadership role in the offense, the amount

attributed to him as relevant conduct, and the sufficiency of the evidence on his firearm conviction.

On July 10, 2002, the Fourth Circuit affirmed the petitioner’s convictions and the district court’s

determination of his relevant conduct, but found that the enhancement of the petitioner’s sentence

for a leadership role was in error. Accordingly, the Fourth Circuit vacated the petitioner’s sentence

and remanded the case to the district court to re-sentence Mr. Sayles without the leadership role

enhancement. United States v. Sayles, 296 F.3d 219 (4th Cir. 2002).

       Mr. Sayles was re-sentenced on January 6, 2003, after the preparation of a revised

Presentence Investigation Report. Without the leadership role enhancement, the petitioner’s


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        Because of the statutory maximum of 20 years on Counts Seven and Ten, the petitioner’s
Guideline sentencing range on those counts was 235-240 months, rather than the 235-293 month
range provided by the Sentencing Guidelines.

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Guideline sentencing range was 188-235 months on Counts One, Seven and Ten. When offered his

right of allocution, Mr. Sayles attempted to challenge the court’s determination of his relevant

conduct. The presiding district Judge held that, because the Fourth Circuit had affirmed the district

court’s determination of the defendant’s relevant conduct, that issue was not before the court on re-

sentencing. The petitioner was re-sentenced to 188 months on Counts One, Seven and Ten, followed

by a consecutive 60- month sentence on Count Eleven.

       In his second appeal, the petitioner challenged the denial of his Motion for a New Trial, and

filed motions to supplement the record with a pro se brief challenging the quantity of drugs

attributed to him as relevant conduct. On February 17, 2004, the Fourth Circuit affirmed the denial

of the defendant’s Motion for a New Trial. United States v. Sayles, 87 Fed. App’x 884 (4th Cir. Feb.

17, 2004) (unpublished). Though the court granted the petitioner’s motions to supplement the record

with his supplemental pro se brief, the court declined to address the issue because it was "beyond

the scope of [the court’s] remand.” Id. at 885.

        The petitioner then filed a § 2255 motion on February 14, 2005. The grounds for relief as

alleged in the petitioner’s § 2255 motion were: (1) Ineffective assistance of counsel during pre-trial

when counsel failed to properly challenge the admissibility of the defendant’s post-arrest statement

in a motion to suppress; (2) Ineffective assistance of counsel on appeal because counsel failed to

challenge the quantity of drugs attributable to the defendant for sentencing purposes; (3) The district

court erred in sentencing the defendant beyond his prescribed statutory maximum based upon facts

not found by a jury or admitted by the defendant; (4) Ineffective assistance of counsel on appeal for

failure to challenge the sufficiency of the evidence for the defendant’s conspiracy conviction; (5)




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Ineffective assistance of counsel on the basis that his trial counsel labored under an actual conflict

of interest during pre-trial stages.

        By Memorandum Opinion and Order dated August 22, 2006, this court denied and dismissed

the petitioner’s § 2255 motion. On September 8, 2006, the petitioner filed the instant motion to alter

or amend the judgment pursuant to Federal Rule of Civil Procedure 59(e). The petitioner now asks

the court to reconsider its Order arguing that the court’s failure to recognize the following clear

errors of law made with respect to this court’s denial of the petitioner’s § 2255 motion will cause

a manifest injustice because: (1) appellate counsel was ineffective for not challenging the quantity

of drugs attributable to the petitioner during his second direct appeal; (2) appellate counsel was

ineffective for not challenging the sufficiency of the evidence on the petitioner’s conspiracy

conviction; (3) trial counsel was ineffective for failing to properly challenge the admissibility of the

petitioner’s post-arrest statement in a motion to suppress; and (4) trial counsel labored under an

actual conflict of interest during plea negotiations and afterwards.

II.     Discussion

        Rule 59(e) states that “[a]ny motion to alter or amend a judgment shall be filed no later than

10 days after entry of judgment.” Although Rule 59(e) does not provide any standard specifying

when the grant of such a motion is appropriate, the Fourth Circuit has recognized three alternative

grounds: (1) "‘to accommodate an intervening change in controlling law; (2) to account for new

evidence not available at trial; or (3) to correct a clear error of law or prevent manifest injustice.’"

Clapper v. Chesapeake Conference of Seventh-Day Adventists, 166 F.3d 1208, *5 (4th Cir. 1998)

(unpublished decision) (quoting Pacific Ins. Co. v. Am. Nat’l Fire Ins. Co., 148 F.3d 396, 403 (4th

Cir. 1998)). “The Rule 59 Motion may not be used to relitigate old matters, or to raise arguments


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or present evidence that could have been raised prior to the entry of judgment.” Id. (quoting 11

Wright, Miller and Kane, Federal Practice and Procedure § 2810.1 at 127-28 (2d ed. 1995)).

       The first two grounds are not applicable to this motion. The petitioner has not cited an

intervening change in the law or new evidence not previously available. He premises his motion on

the third ground, i.e., to correct a clear error of law or prevent manifest injustice. This avenue of

relief, however, is inapplicable here because the petitioner seeks to relitigate the same claims raised

in his prior § 2255 motion. The petitioner’s Rule 59 motion is simply a restatement of his prior

claims, which included claims attacking his sentence and conviction. He raises arguments and

presents evidence that were both raised and could have been raised in his prior motion. This is

generally not permitted and is considered to be a successive § 2255 petition.

       A successive petition is available only in limited circumstances and while the petitioner

names his motion a Rule 59(e) Motion to Alter or Amend, courts must not allow prisoners to

circumvent these limited circumstances by attaching labels other than “successive application” to

their pleadings. Calderon v. Thompson, 523 U.S. 538, 553 (1998). The Fourth Circuit has instructed

that while there “may be no infallible test” for distinguishing between a proper motion to reconsider

from a successive petition, “a relatively straightforward guide is that a motion directly attacking the

prisoner’s conviction or sentence will usually amount to a successive application.” United States

v. Winestock, 340 F.3d 200, 207 (4th Cir. 2003). In contrast, “[n]ew legal arguments or proffers of

additional evidence will generally indicate that the prisoner is not seeking the relief available

pursuant to a motion for reconsideration, but instead, is continuing his collateral attack on his

conviction or sentence.” Id. An example of a proper motion for reconsideration, in the habeas




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context, is an allegation that government agents perpetrated a fraud on the court during the collateral

review proceedings. Id.

       Here, the petitioner continues to attack his sentence and conviction by attempting to relitigate

the same issues raised in his previous § 2255 motion and therefore, this court will construe his

motion as a successive petition. The Antiterrorism and Effective Death Penalty Act provides:

“Before a second or successive application [for habeas corpus] is filed in the district court, the

applicant shall move in the appropriate court of appeals for an order authorizing the district court

to consider the application.” 28 U.S.C. § 2244 (b)(3)(A) (2006). Thus, this court may not consider

the merits of the petitioner’s claims in his motion to reconsider because he failed to first certify his

motion with the Fourth Circuit Court of Appeals before filing it in this court. See Byrd v. United

States, 2007 U.S. Dist. LEXIS 5238, at *6-9 (W.D.N.C. 2007).

       For the foregoing reasons, the court DENIES the petitioner’s Motion to Alter or Amend this

court’s previous Order denying the petitioner’s § 2255 motion because it is a successive petition

filed without authorization by the Fourth Circuit Court of Appeals.

       The court DIRECTS the Clerk to send a certified copy of this Order to Magistrate Judge

Stanley, counsel of record, and any unrepresented party.

                                               ENTER:           October 22, 2009




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